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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

     Criminal Case No. 16-cr-00284-CMA

     UNITED STATES OF AMERICA,

                  Plaintiff,

     v.

     DONALD ILEY,

                Defendant.
     ______________________________________________________________________

      UNITED STATES’ MOTION TO AMEND PRELIMINARY ORDER OF FORFEITURE
     ______________________________________________________________________

           COMES NOW the United States of America, by and through Acting United States

     Attorney Robert C. Troyer and Assistant United States Attorney Tonya S. Andrews,

     pursuant to 18 U.S.C. §§ 981(a)(1)(C), 28 U.S.C. § 2461, and Rule 32.2(e)(1) of the

     Federal Rules of Criminal Procedure, and moves this Court to enter an Amended

     Preliminary Order of Forfeiture for a Personal Money Judgment against defendant

     Donald Iley in accordance with sentencing.

           In support, the United States sets forth the following:

I.         Procedural Background

           1.     On August 24, 2016 the Grand Jury charged defendant Donald Iley by

     Indictment with Wire Fraud in violation of 18 U.S.C. § 1343, Mail Fraud in violation of 18

     U.S.C. § 1341, and Aiding in the Preparation of False Tax Returns in violation of 26 U.S.

     C. § 7206(2). (Doc. 1).



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       2.     The Indictment also contained a forfeiture allegation providing the

defendant with notice that the United States, pursuant to the provisions of 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c), would seek forfeiture of a money judgment in the

amount of proceeds obtained by the scheme and by the defendant. (Doc. 1 at 9).

       3.     On April 18, 2017, the United States and defendant Donald Iley entered into

a Plea Agreement. In the plea agreement, the defendant agreed, inter alia, to plead guilty

to Counts 12 and 28 of the Indictment, charging violations of 18 U.S.C. § 1343 and 26

U.S.C. § 7206(2), and further admitted the forfeiture allegation, pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c). (Doc. 21, p. 1-2).

       4.     On June 29, 2017, the United States filed a motion for a General Preliminary

Order of Forfeiture in the amount of the proceeds obtained by the scheme and the

defendant, less any funds returned to victims. See Fed. R. Crim. P. 32.2(b)(2)(C). 1

       5.     The Court entered a General Preliminary Order of Forfeiture against the

defendant on July 10, 2017 pursuant to Fed. R. Crim. P. 32.2(b)(2)(C). The Order

specified that the amount would be amended once the Court determined the appropriate

amount at sentencing. (Doc. 40).

       6.     On July 13, 2017, the Court held the initial sentencing hearing for defendant

Iley where the defendant agreed to restitution in the amount of $9,718,327.68. The




1 The United States Attorney’s Office for the District of Colorado will recommend to the

Attorney General that any net proceeds derived from the sale of any judicially forfeited
assets be remitted or restored to eligible victims of the offense, for which the defendant
has pleaded guilty, pursuant to 18 U.S.C. § 981(e), 28 C.F.R. pt. 9, and any other
applicable laws.

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  Government sought leave to amend the Preliminary Order of Forfeiture to include this

  amount as the proceeds from the offense as set forth in the Plea Agreement.

         7.     Based on sentencing and the Plea Agreement, defendant Iley obtained

  $9,718,327.68 as a result of the scheme charged in Count 12, 18 U.S.C. § 1343 (wire

  fraud), and those funds are now subject to forfeiture.

II.      Argument

         8.     Pursuant to 18 U.S.C. § 981(a)(1)(C) 2 and 28 U.S.C. § 2461(c), the Court

  shall order criminal forfeiture of all property constituting or derived from proceeds

  traceable to 18 U.S.C. § 1343.

         9.     If the total amount of the money judgment is not determined before

  sentencing, the court may order a general preliminary order of forfeiture stating that it

  will be amended when the money judgment is calculated. Fed. R. Crim. P.

  32.2(b)(2)(C). Pursuant to Fed. R. Crim. P. 32.2(e)(1), the Court may at any time

  amend an existing order of forfeiture.

         10.    Therefore, based on sentencing and the defendant’s plea agreement, the

  general preliminary order of forfeiture should be amended to include a finding that the

  defendant obtained proceeds in the amount of $9,718,327.68.

         WHEREFORE, the United States moves this Court to Amend the Preliminary

  Order of Forfeiture and Judgment, authorizing the United States to forfeit up to


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    Title 18, United States Code, section 981(a)(1)(C) provides for the forfeiture of any
  property constituting or derived from proceeds traceable to a “specified unlawful activity”
  as defined in 18 U.S.C. § 1956(c)(7). In turn, 18 U.S.C. § 1956(c)(7) includes any
  offense listed in 18 U.S.C. § 1961(1) as a “specified unlawful activity.” Wire fraud is
  listed in 18 U.S.C. § 1961.

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$9,718,327.68 in direct or substitute assets from the Defendant and to retain jurisdiction

over this matter for the purpose of amending the Order of Forfeiture to include any

subsequently located substitute assets, tendered herewith, for the reasons set forth

above.


      DATED this 25th day of July 2017.

                                                Respectfully submitted,

                                                ROBERT C. TROYER
                                                Acting United States Attorney

                                         By:    s/ Tonya S. Andrews
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of July 2017, I electronically filed the foregoing
with the Clerk of Court using the ECF system which will send notice to all counsel of
record.

Gary Lozow
Counsel for Donald Iley
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                                                   s/ Jody Gladura
                                                   FSA Data Analyst
                                                   Office of the U.S. Attorney




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